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                       EXHIBIT B
Discounted Bargains on Baumgartens Pencil Sharpener
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                                                                                       FREE SHIPPING                                             (800) 658 -1488    HOME
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                                                                                                              Baumgartens Single-Hole Trap Door Pencil
                                                                                                              Sharpener with Eraser
                                                                                                              1 Hole(s) - 2.6" Height - Assorted

                                                                                                              Product Number: BAU19550


                                                                                                                       $4.06 / EA                   $3.86 / EA             $2.90 / EA
                                                                                                                          1 EA minimum                 6+ minimum           Bulk Price
                                                                                                                       you save $1.23 (23%)                                    Click here




                                                                                                                 Qty
                                                                                                                        1


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                                                                                                                                                                             4.8




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Discounted Bargains on Baumgartens Pencil Sharpener
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                                                                                                                           Recently Viewed Items
              Product Description

              Pencil sharpener features a built-in handy eraser, honed steel blades and a built-in dust-proof receptacle. Made for use with
              standard-sized pencils. Dust-proof receptacle allows you to take it with you wherever you need to go without the risk of
              spilling the shavings. Pencil sharpener meets or exceeds standard for RoHS compliance for lead, mercury, bromine, chrome
              and cadmium.

                Handheld, single-hole design; precision-honed steel blade                                                                        Baumgartens Dual Hole Wave
                Built-in eraser and receptacle to hold pencil shavings                                                                           Sharpener with Receptacle
                Assorted colors
                                                                                                                                                 Handheld - 2 Hole(s) - 2.1" Height
                Height: 2-5/8"                                                                                                                   - Assorted
                Made in Germany

                                                                                                                                                 Item #: BAU19060
                                                                                                                                                 Price: $4.20   EA
              Product Details
                                                                                                                                                 Bulk Price: $3.18

              General Information
              Manufacturer                                                     Baumgartens


              Manufacturer Part Number                                         19550


              Manufacturer Website Address                                     http://www.b3.net


              Brand Name                                                       Baumgartens


              Product Name                                                     Single-Hole Trap Door Pencil Sharpener with Eraser
                                                                                                                                                 CLI Cone Receptacle Pencil
                                                                                                                                                 Sharpener
              Packaged Quantity                                                1 Each                                                            Plastic - Assorted

              Product Type                                                     Manual Pencil Sharpener


              Product Information                                                                                                                Item #: LEO80730
              Holes                                                            1                                                                 Price: $0.84   PK
                                                                                                                                                 Bulk Price: $0.49
              Cutter Material                                                  Steel


              Application/Usage                                                Pencil


              Features
                                                                                   Dust Proof

                                                                                   Built-in Eraser



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Discounted Bargains on Baumgartens Pencil Sharpener
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              Physical Characteristics
              Color                                                            Assorted                                                          Helix 2-hole Pencil Sharpener


              Height                                                           2.6"
                                                                                                                                                 2 Hole(s) - Plastic - Transparent,
                                                                                                                                                 Assorted
              Weight (Approximate)                                             1.12 oz


              Miscellaneous                                                                                                                      Item #: HLX634756TA
              Recycled                                                         No                                                                Price: $1.40   EA

              Assembly Required                                                No


              Environmentally Friendly                                         Yes


              Environmental Certification                                      RoHS


              Country of Origin                                                Germany


              UPC                                                              085288195501
                                                                                                                                                 BULK Carton Dome Pencil
              UNSPC                                                            44121619                                                          Sharpeners in a 3 Pack of

              Catalog Page Number                                              BRA                                                               Dome Pencil Sharpeners in a 3
                                                                                                                                                 Count of Assorted Colors. Priced
                                                                                                                                                 individually, sold in full case


                                                                                                                                                 Item #: FCS02109-BULK
                                                                                                                                                 Price: $1.09   PK
                                                                                                                                                 Volume Pricing: $0.99



                                                                                                                                                 b




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RoseSet
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                                                                                                             http://rose-plastic.us/index.2030.1.html   Go   JAN FEB MAR
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    1 capture                                                                                                                                                     02                             f
    2 Feb 2009                                                                                                                                               2008 2009 2010         ▾ About this capture




       Home / Product World / Packaging for Promotional and... / Product List / RoseSet

      News                                        Standard                    Packaging          Packaging for the DIY               Packaging for                 Packaging for
                                                 Packaging                for Cutting Tools            Market                    Technical Applications           Promotional and
      Product World
                                                                                                                                                                  Consumer Items
      Standard Packaging
      Packaging for Cutting Tools
      Packaging for the DIY Market
      Packaging for Technical
      Applications
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      Consumer Items
      Application
      Product List
       BigPencil
       Characters
       ConsumerBox
       DrillBit
       HolidayBox
       KlickBoxes Product List
       MaxiBox
       MiniPen
       MiniPencil
       Mobile Phones
       PostBox
       QuadroPack
                                            Product Description      Availability   Data Sheet       Note Product
       RectangularPack
       RoseBottle Product List
       RoseCase Product List
                                          RoseSet
       RoseSet
                                          Product Description
       ScrewPack
       TwistPack                          Modern, eyecatching set-packaging for presentation, storage and transport
       UniBox Product List
       VarioPack Product List
      About rose plastic
                                          Product Features

      Services                                attractive,   easy on the hand        design

      Contact                                 crystal clear material of cover offers optimum presentation
                                              25 or 35 mm recess in base will take punched foam
                                              inserts for set layout (not included with RoseSet)
                                              smart, secure and simple closure
                                              numerous applications possible
                                              can be printed or enhanced by labeling, card inserts, etc.
                                              can be customized

                                          Standard Material
                                              base: Polystyrene (PS)
                                              cover: PVC

                                          Stock items
                                              red and blue bases available from stock
                                              clear (PVC) covers available from stock

                                          Availability
                                              please inquire for other colors
                                              with hanging loop possible

                                          Packaging Description
                                              outers and inners packed separately in individual cartons

                                          Application
                                              This attractively shaped box offers a variety of possible
                                              applications




https://web.archive.org/web/20090202183702/http://rose-plastic.us/index.2030.1.html[3/17/2019 11:20:40 PM]
RoseSet
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                                          ideal product packaging for sales and display,
                                          promotional, presentation of samples, etc., in numerous
                                          sectors




      International Pages

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